
*799OPINION.
Lansdon:
The only error pleaded here is that the Commissioner improperly disallowed, in part, a payment in the amount of $4,300 which the petitioner made to the Kansas City Chamber of Commerce in the taxable year. The theory of the respondent is that the amount disallowed was a contribution for propaganda for the purpose of increasing the population of Kansas City, and does not come within the category of ordinary and necessary business expenses.
Our findings of fact disclose that the amount disallowed was not a contribution, but a payment to the Chamber of Commerce in the nature of subscriptions for memberships and annual dues. The evidence is persuasive and convincing that such memberships and the subscriptions and dues paid on account thereof were intended to and did materially increase the volume of the petitioner’s business. The facts here are very similar to those in Hirsch-Weis Manufacturing Co., 14 B. T. A. 796. We think our decision in that proceeding controls the issue here involved. See, also, Poinsett Mills, 1 B. T. A. 6; Thomas Shoe Co., 1 B. T. A. 124; Anniston City Land Co., 2 B. T. A. 526; Simons Brick Co., 14 B. T. A. 878.
Reviewed by the Board.

Decision will be entered for the petitioner.

